Case 6:09-cr-00009-JCB-KNM           Document 747       Filed 08/19/13     Page 1 of 1 PageID #:
                                            2608



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                      §
                                               §
 v.                                            §            CRIMINAL NO. 6:09CR009-16
                                               §
 PEGGY ANN HELM                                §

                 ORDER ON REVOCATION OF SUPERVISED RELEASE

        The above entitled and numbered criminal action was referred to United States

 Magistrate Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of the Magistrate

 Judge, which contains his proposed findings of fact and recommendations for the disposition of

 such action, has been presented for consideration. The parties waived objections to the Report

 and Recommendations.

        The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as

 the findings and conclusions of this Court.

         So ORDERED and SIGNED this 19th day of August, 2013.




                                __________________________________
                                LEONARD DAVIS
                                UNITED STATES DISTRICT JUDGE
